
Per Curiam.
In the trial below, two judgment rolls were offered in evidence by the plaintiff. It was then, and on the argument of this appeal, assumed that, prima facie, the judgments were adjudications against the defendants on an issue made by the answer in this action, of the same kind as made in the answers in the former actions.
To show that actually the adjudications were not made in the former actions, the defendants asked of a witness questions, framed to show that in the former actions the defendant had given'no testimony in support of the defenses. These questions were properly excluded, because,' although testimony might not have been given, the defenses were not withdrawn. If not withdrawn *311and they were not supported by testimony, adjudications must have been made competently against the defendants.
Judgment and order affirmed with costs.
